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18                       IN THE UNITED STATES DISTRICT COURT
19                            FOR THE DISTRICT OF ARIZONA
20   United States of America,                             No. CR-18-00422-PHX-SMB
21                        Plaintiff,
                                                        MOTION IN LIMINE TO ADMIT
22            v.                                        EVIDENCE AS NON-HEARSAY
                                                              STATEMENTS
23
     Michael Lacey, et al.,
24
                          Defendants.
25
26                               SUMMARY OF ARGUMENT
27         The United States moves in limine to admit three categories of evidence that are not
28   hearsay: (1) statements made by attorneys Elizabeth McDougall and Don Bennett Moon;


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 1   (2) statements made in emails, correspondence, and PowerPoint reports by a brand analysis
 2   firm, various public relation firms and attorneys acting in a public relations capacity; and
 3   (3) statements made by co-conspirators Dollar Bill and David Elms. See Fed. R. Evid.
 4   801(d).
 5             Elizabeth McDougall (McDougall) and Don Bennett Moon (Moon) served as
 6   attorneys for Backpage and Moon also had a personal attorney-client relationship with
 7   Defendants Lacey and Larkin. Backpage attorneys have also identified Moon as “outside
 8   counsel.” Thus, statements made by McDougall and Moon publicly, and in emails and
 9   meetings with various parties are statements made by a person whom the party
10   (Defendants) authorized to make a statement on the subject and were made by the party’s
11   agent on a matter within the scope of that relationship while it existed under Rules
12   801(d)(2)(C) and (D). The statements are also not hearsay because Defendants manifested
13   their belief in the truth of the statements under Rule 801(d)(2)(B).
14          Next, the government seeks to admit statements made in emails, correspondence,
15   PowerPoints reports by a brand analysis firm, various public relation firms and attorneys
16   acting in a public relations capacity. The statements are not hearsay because the firms were
17   authorized to make the statements on the subject under Rule 801(d)(2)(C). Additionally,
18   the statements are imputed agent statements under subsection (d)(2)(D). Because the
19   statements were made by an agent within the scope of their agency and, they are also
20   categorically not hearsay under subsection (d)(2)(D).
21          Finally, the government seeks to admit the statements of co-conspirators Dollar Bill
22   and David Elms under Rule 801(d)(2)(E) as statements of co-conspirators made during the
23   course of and in furtherance of the conspiracy. The government’s evidence at trial will
24   establish that (1) there was a conspiracy (2) the defendants and declarants were participants
25   in the conspiracy, and (3) statements were made by declarants during and in furtherance of
26   the conspiracy. Fed. R. Evid. 801(d)(2)(E).
27
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 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.     Statements Made by Elizabeth McDougall and Don Bennett Moon are
 3          Admissible as Non-Hearsay Statements
 4          A.     Elizabeth McDougall
 5          Under Rule 801(d)(2)(C), a statement is not hearsay if it is offered against an
 6   opposing party and “was made by a person whom the party authorized to make a statement
 7   on the subject.” “[S]peaking authority may exist because of the nature of the relationship
 8   and the task the speaker is to perform, as in the case of attorneys . . . .” United States v.
 9   Bonds, No. CR 07-00732 SI, 2009 WL 416445, at *4 (N.D. Cal. Feb 19, 2009). Thus, “a
10   statement made by an attorney is generally admissible against the client.” Totten v. Merkle,
11   137 F.3d 1172, 1176 (9th Cir. 1998).
12          Under Rule 801(d)(2)(D), a statement is not hearsay if it is offered against a party
13   and “was made by the party’s agent or employee on a matter within the scope of that
14   relationship and while it existed.” In particular, statements made by an attorney concerning
15   a matter within his employment and on behalf of his client fall within this rule. United
16   States v. Flores, 679 F.2d 173, 177-78 (9th Cir. 1982) (holding no error in admitting, under
17   Fed. R. Evid. 801(d)(2)(C) or (D), a letter by defendant’s attorney which admitted
18   defendant’s possession of firearms); United States v. Freeman, 519 F.2d 67, 70 (9th Cir.
19   1975) (“[U]nequivocal admissions by an attorney, clearly acting within the scope of his
20   authority, may indeed be binding on his client.”); United States v. Dolleris, 408 F.2d 918,
21   921 (6th Cir. 1969) (finding statements by defendant’s attorney in a meeting with IRS
22   agents were properly received as admissions even though defendant was not at the
23   meeting). The rationale is that “an agent or servant who speaks on any matter within the
24   scope of his agency or employment during the existence of that relationship, is unlikely to
25   make statements damaging to his principal or employer unless those statements are true.”
26   Nekolny v. Painter, 653 F.2d 1164, 1172 (7th Cir. 1981).
27          Statements McDougall made in emails, correspondence, and publicly as a
28   Backpage spokesperson on CNN, Dateline, and in a videotaped New York City Council


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 1   meeting (and other media appearances) are admissible as hearsay exclusions under Rule
 2   801(d)(2)(C) & (D).        They fall under Rule 801(d)(2)(C) because McDougall was
 3   authorized to make statements about the subjects discussed. Defendants hired McDougall
 4   as general counsel in February 2012 to represent Backpage’s position in public
 5   appearances, a role she held until Backpage was seized in April 2018. Similarly, the
 6   statements are admissible under Rule 801(d)(2)(D) because she was speaking on matters
 7   within the scope of her relationship with Backpage while it existed.
 8          Finally, McDougall’s statements are also admissible non-hearsay because they were
 9   effectively adopted by Defendants as their own. Under Rule 801(d)(2)(B), a statement of a
10   third party is admissible as an admission of a party-opponent where the party has
11   manifested his belief in the truth of the statement. Notably, such an “adoption” can be
12   manifested by silence: “The general rule concerning admissions by silence or acquiescence
13   is well established. When an accusatory statement is made in the defendant’s presence and
14   hearing, and he understands and has an opportunity to deny it, the statement and his failure
15   to deny are admissible against him.” Fed. R. Evid. 801(d)(2)(B); see also United States v.
16   Moore, 522 F.2d 1068, 1075 (9th Cir. 1975).
17          McDougall’s statements to the public and media undoubtedly fall within this
18   exception. First, the evidence will show that McDougall often explicitly informed
19   Defendants or their agents about her statements prior to public appearances. Second, given
20   the personal significance to Defendants’ public opinion and the importance of Backpage’s
21   official representation in the media and to the public, Defendants had the opportunity to
22   disavow or correct any inaccurate statements made by McDougall and would have done so
23   if any of those statements were incorrect. Third, the evidence demonstrates that Defendants
24   never disavowed or corrected any of McDougall’s statements concerning Backpage.
25   Therefore, under Rule 801(d)(2)(B), Defendants are deemed to have adopted those
26   statements as their own.
27          B.     Don Bennett Moon
28          Statements made by Moon are admissible under Rule 801(d)(2)(C) because he was


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 1   authorized to make statements about all business matters related to Backpage. “Authority
 2   in the context of 801(d)(2)(C) means ‘authority to speak’ on a particular subject of someone
 3   else.” Precision Piping & Instruments, Inc. v. E.I. du Pont de Nemours & Co., 951 F.2d
 4   613, 619 (4th Cir. 1991). The proponent must show the agent’s authority by a
 5   preponderance of the evidence. Beginning at least in 2011, Moon took an active role in
 6   managing Backpage’s corporate strategy with respect to public relations and handling the
 7   media backlash related to the company’s publishing of prostitution advertisements.
 8   Although it is unclear what his official title was within Backpage, Moon acknowledged an
 9   attorney client relationship with Defendant Larkin in a California Superior Court
10   proceeding. (See Ex. A.) Additionally, Moon was Backpage’s spokesperson at meetings
11   with various anti-trafficking organizations and law enforcement agencies (e.g., NCMEC,
12   the Seattle Attorney General’s Office).      In light of Moon’s authority to speak on
13   Backpage’s corporate strategy, Moon’s statements qualify as authorized admissions by a
14   speaking agent under Rule 801(d)(2)(C).
15          Alternatively, statements made by Moon are also admissible under Rule
16   801(d)(2)(D) because Moon was Backpage’s agent and the statements were within the
17   scope of that relationship and were made while the relationship existed.      The evidence
18   shows that since at least 2011, Moon has served as Backpage’s spokesperson and advisor
19   and was heavily involved in the public relations and legal strategy of the company. Tisa v.
20   Beasley FM Acquisition Corp., 343 F.App’x 793, 798 (3d Cir. 2009) (finding long-time
21   consultant who had a heavy hand in business operations as an agent). Moon made the
22   relevant admissions and statements in emails and during meetings on behalf of Defendants
23   in his capacity as Backpage’s agent.
24   II.    Statements Made by Brand Anaysis Firms, Public Relation Firms and
25          Attorneys are Admissible Non-Hearsay Statements
26          Statements by a brand analysis firms, such as reports and emails from
27   representatives of Greenberg Quinlan Rosner Research (“GQR”) and public relation firms
28   (e.g., Goddard Global, Culloton Strategies, Sitrick, and Barabara Roesner) or attorneys


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 1   (Ed McNally, Steve Suskind, Samuel Fifer, and Hemanshu Nigam) all acting in a public
 2   relations capacity constitute statements “made by a person whom the party authorized to
 3   make a statement on the subject.” Fed. R. Evid. 801(d)(2)(C); see also Reid Bros. Logging
 4   Co. v. Ketchikan Pulp Co., 699 F.2d 1292, 1306 (9th Cir. 1983) (outside report authorized
 5   by party was non-hearsay admission).
 6          Reid Brothers supports the conclusion that a brand analysis firm and public relation
 7   firms’ reports, emails, power points, correspondence, and statements to the press are
 8   admissible under Rule 801(d)(2)(C). Id. In Reid Brothers, the defendants challenged the
 9   admission of a report prepared by their parent-company detailing the company’s logging
10   operations, which was created to promote better business practices. Id. Similarly, here,
11   Defendants authorized brand analysis firms and public relation firms to produce reports
12   and/or prepare strategies to further Defendants’ knowledge of how to best modify
13   Backpage’s brand position. Further, where in Reid Brothers the employee’s statements
14   regarding the price structure of log purchases were necessary to make the report accurate,
15   so too here, the brand analysis firms’ and public relation firms statements regarding
16   Backpage’s brand position were necessary to make their reports accurate.            In Reid
17   Brothers, it was not necessary for the plaintiffs, who offered into evidence the employee’s
18   statements, to show defendants specifically authorized statements regarding the price
19   structure of log purchases; it was sufficient that defendants authorized a survey of its own
20   log operations from which said price information came. Id.
21          Here, Defendants authorized a review of Backpage’s brand position, and the brand
22   analysis firms’ statements in furtherance of accurately assessing its brand position were
23   thereby impliedly authorized. Likewise, they also retained public relation firms and
24   attorneys to represent them in various public relation situations and their statements on
25   behalf of Backpage are admissible under Fed. R. Evid. 801(d)(2)(C).
26          Moreover, all statements by brand analysis and public relation firms constitute
27   statements of a party’s agent under Rule 801(d)(2)(D) and are therefore admissible against
28   each Defendant as if it were his own statement. See Fed. R. Evid. 801(d)(2)(D) (excluding


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 1   from the definition of hearsay any “statement by the party’s agent or servant concerning a
 2   matter within the scope of the agency or employment, made during the existence of the
 3   relationship”).
 4             Both elements that are required to invoke Rule 801(d)(2)(D) are easily satisfied
 5   here. First, each brand analysis firm, public relations firm or attorneys acting in a public
 6   relations capacity qualifies as an “agent” because Backpage retained each firm or attorney
 7   to research brand positioning issues and/or formulate public relations strategy to provide
 8   defendants with reports detailing those issues, proposing corrective actions or preparing a
 9   power point detailing media strategy. See Metro-Goldwyn-Mayer Studios, Inc. v. Grokster,
10   Ltd., 454 F. Supp. 2d 966, 973-74 (C.D. Cal. 2006) (holding independent contractor was
11   agent of defendant regardless of precise contractual relationship between agent and party
12   against whom evidence was being offered). Indeed, some of the emails between the
13   various firms’ employees and Defendants are contractual agreements, thereby establishing
14   agency. Second, the reports and emails concern matters falling within the firms’
15   responsibilities with Backpage.
16   III.      Co-Conspirator Statements Made By Dollar Bill and David Elms are
17             Admissible Non-Hearsay Statements
18             A.    Dollar Bill
19             Statements “made by [a] party’s co-conspirator during and in furtherance of the
20   conspiracy” may be offered against an opposing party because such statements are not
21   hearsay. Fed. R. Evid. 801(d)(2)(E). Co-conspirator statements are admissible under Rule
22   801(d)(2)(E) if “there [is] evidence that (1) there was a conspiracy, (2) involving the
23   declarant and the nonoffering party, and (3) that statement was made ‘during the course
24   and in furtherance of the conspiracy.’” Bourjaily v. United States, 483 U.S. 171, 176
25   (1987) (citing Fed. R. Evid. 801(d)(2)(E)). These preliminary questions concerning the
26   admissibility of evidence are resolved by the court by a preponderance of the evidence. Id.
27   at 175.
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 1          It is within trial court’s discretion to admit co-conspirator statements before the
 2   conspiracy and the defendant’s connection to it are established, United States v. Loya, 807
 3   F.2d 1483, 1490 (9th Cir. 1987), subject to the condition that the statements will be stricken
 4   if the government fails to provide sufficient proof that the defendant was connected to the
 5   conspiracy. United States v. Spawr Optical Research Inc., 685 F.2d 1076, 1083 (9th Cir.
 6   1982). The United States need not prove the existence of a formal agreement to establish
 7   conspiracy. See United States v. Abushi, 682 F.2d 1289, 1293 (9th Cir. 1982) (“An
 8   unlawful conspiracy may be proven by circumstantial evidence; no formal agreement is
 9   necessary.”). Nor does the co-conspirator need to be formally charged. “An individual
10   need not be indicted to be considered a co-conspirator for purposes of” this exception to
11   the hearsay rule. United States v. Williams, 989 F.2d 1061, 1067 (9th Cir. 1993). Instead,
12   an agreement constituting a conspiracy can be inferred from the acts of the parties and other
13   circumstantial evidence. United States v. Becker, 720 F.2d 1033, 1035 (9th Cir. 1983);
14   Abushi, 682 F.2d at 1293.
15          Here, the evidence will establish by a preponderance of the evidence all of the facts
16   necessary for admission of the co-conspirator statements. Specifically, the first two parts
17   of Rule 801(d)(2)(E) are satisfied because the evidence will show Backpage and Dollar
18   Bill had a business relationship; Backpage paid Dollar Bill a fee in exchange for his
19   promotion of the website by arranging for pimps and prostitutes to post ads on Backpage.
20   (See Doc. 230, ¶¶ 59-67).    Defendants advised Dollar Bill how to wordsmith ads so they
21   would not be rejected by Backpage’s moderators. (Id.) As a result, Dollar Bill was one of
22   Backpage’s largest adult accounts and was instrumental in assisting Backpage in building
23   its client base.
24          The third part of Rule 801(d)(2)(E) requires proof that the statement was made in
25   the course of and in furtherance of the conspiracy. See United States v. Yarbrough, 852
26   F.2d 1522, 1535 (9th Cir. 1988) (to be made in furtherance of the conspiracy, a statement
27   “must further the common objectives of the conspiracy or set in motion transactions that
28   are an integral part of the conspiracy”). Courts have interpreted the “in furtherance of”


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 1   requirement broadly. See id. at 1535-36.          Here, there is no question Dollar Bill’s
 2   statements facilitated the ongoing operation of the conspiracy. (See Ex. B; example of an
 3   email exchange between Dollar Bill and Backpage.) For example, Dollar Bill informed
 4   Defendants that his ads had been deleted from Backpage so that Defendants could restore
 5   the ads; and, it was those ads that set in motion transactions between pimps, prostitutes,
 6   and Johns. (Id.)
 7          Finally, the Supreme Court expressly held in Crawford v. Washington, 541 U.S. 36,
 8   56 (2004), that statements made in furtherance of a conspiracy were not “testimonial,” and
 9   as such, their admission does not violate the Confrontation Clause. Here, the statements
10   the government seeks to introduce are non-testimonial because they were discussions
11   among and between the co-conspirators at the time of the conspiracy, and therefore,
12   negating any Confrontation Clause issue.
13          B.     David Elms
14          Similar to Dollar Bill, David Elms of the Erotic Review (“TER”) was also a co-
15   conspirator and his statements are admissible as co-conspirator statements, particularly the
16   statements he made to Ferrer. There is sufficient proof that the conspiracy exists and of
17   Elms’ connection to the conspiracy. (See Doc. 230, ¶¶ 45-58).              Several internal
18   communications indicate that Defendants and Elms acted in concert to achieve a common
19   purpose. (See Ex. C; example of an email exchange with Backpage.) As discussed in the
20   Superseding Indictment, Backpage had a deal with TER for reciprocal links, which created
21   brand awareness and increased page views from TER daily. Thus, TER played a crucial
22   role in driving traffic to the Backpage website. TER was the number one outside source
23   of referrals and was responsible for hundreds of thousands of monthly reviews.
24          Moreover, Elms’s statements were made in the course of and in furtherance of the
25   conspiracy because his statements furthered the common objectives of the conspiracy, as
26   well as set in motion transactions that were an integral part of the conspiracy – to increase
27   the posting of prostitution ads on backpage.com. Elms’s statements to Ferrer facilitated
28   the reciprocal link program between Backpage and TER. The reciprocal links agreement


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 1   between Elms and Ferrer furthered a common objective of the conspiracy because it
 2   increased traffic to Backpage and expanded its business in targeted cities. Likewise, it set
 3   in motion transactions between prostitutes, pimps, and Johns.
 4   IV.    Conclusion
 5          For all the foregoing reasons, the government respectfully requests that the Court
 6   grant the government’s request to admit the above discussed evidence at trial.
 7          Respectfully submitted this 17th day of April, 2020.
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20
21
22                                CERTIFICATE OF SERVICE

23         I hereby certify that on this same date, I electronically transmitted the attached
     document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
24   Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
     as counsel of record.
25   s/Marjorie Dieckman
26   Marjorie Dieckman
     U.S. Attorney’s Office
27
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